                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN


DANIEL BLACK,

                           Plaintiff,
         v.
                                                     Civil Action No. 2:17-cv-00156
DAVID A. CLARKE. JR., et al.

                           Defendants.


                              NOTICE OF WITHDRAWAL OF MOTION


         PLEASE TAKE NOTICE that, defendants Milwaukee County and David A. Clarke, Jr.

hereby withdraw their pending motion to compel non-party American Airlines, Inc. to produce

documents and sound recordings. (ECF No. 32).



Dated: December 5, 2017.                        s/ Charles H. Bohl
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